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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                      (Northern Division)

COLUMBIA GAS TRANSMISSION, LLC,                     )
                                                    )
              Plaintiff,                            )
                                                    )
v.                                                  )      Civ. No.: 1:19-cv-01444 GLR
                                                    )
0.12 ACRES OF LAND, MORE OR                         )
LESS, IN WASHINGTON COUNTY,                         )
MARYLAND; STATE OF MARYLAND,                        )
DEPARTMENT OF NATURAL RESOURCES,                    )
                                                    )
              Defendants.                           )

              PLAINTIFF COLUMBIA GAS TRANSMISSION, LLC’S
         REPLY IN SUPPORT OF ITS MOTION FOR EXPEDITED HEARING

       Plaintiff Columbia Gas Transmission, LLC (“Columbia”) respectfully states the following

in further support of its Motion for Expedited Hearing on its Motion for an Order of Condemnation

and for Preliminary Injunction.

       Columbia agrees with Defendant State of Maryland, Department of Natural Resources

(“MDNR”) that its Motion for Expedited Hearing has been rendered moot by the Court’s setting

of the August 13, 2019 hearing on all pending motions, which rejected MDNR’s request to

bifurcate the hearings relative to Columbia’s Motion for an Order of Condemnation and for

Preliminary Injunction (the “Motion”) and MDNR’s Motion to Dismiss, and effectively granted

Columbia’s Motion to Expedite. Columbia further notes that, as the briefing on the merits has

evolved in this matter, the issues have considerably narrowed. MDNR’s objections to Columbia’s

Motion all stem from MDNR’s argument that it is entitled to Eleventh Amendment sovereign




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immunity,1 and thus, that the Court lacks jurisdiction over this action. The legal issue of sovereign

immunity stands fully briefed.2



Dated: July 8, 2019                           Respectfully submitted,

                                      By:     /s/
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1
  By way of footnote, MDNR also argues that Columbia has not adequately pled satisfaction of
the Natural Gas Act’s $3,000 jurisdictional requirement. This legal issue, which MDNR raised in
its Opposition to Columbia’s Motion, stands fully briefed.
2
  Per the briefing schedule adopted and approved by the Court (see ECF No. 22 at 2; ECF No. 23),
MDNR may submit a reply in support any motion it has filed on or before July 18, 2019. The only
motion to which this deadline could be applicable is MDNR’s Motion to Dismiss, which Columbia
maintains is procedurally improper and should be stricken. The merits of MDNR’s sovereign
immunity argument (which are the subject of its Motion to Dismiss) should be considered via the
papers filed in support of, and in opposition to, Columbia’s Motion for an Order of Condemnation
and for Preliminary Injunction.

                                                 2
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                             CERTIFICATE OF SERVICE
      I HEREBY CERTIFY THAT on this 8th day of July, 2019, the foregoing was served by

CM/ECF on all registered CMF users.

                                                     /s/
                                        Arnold M. Weiner




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